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6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11    ASHTON FORBES,                          )   No. 20-CV-00998-BAS-JLB
                                              )
12                      Plaintiff,            )   MEMORANDUM OF POINTS AND
                                              )   AUTHORITIES IN SUPPORT OF
13       v.                                   )   DEFENDANT COUNTY OF SAN
                                              )   DIEGO’S MOTION TO DISMISS
14    COUNTY OF SAN DIEGO,                    )   PLAINTIFF’S SECOND AMENDED
      GOVERNOR GAVIN NEWSOM in his            )   COMPLAINT
15    official capacity,                      )   [Fed. R. Civ. P., Rule 12(b)(6)]
      SONIA Y. ANGELL in her official         )
16    capacity, and                           )
      DOES 1-50,                              )
17                                            )   Judge:      Hon. Cynthia A. Bashant
                        Defendants.           )   Mag. Judge: Hon. Jill L. Burkhardt
18                                            )
                                              )   Hearing Date: Tuesday, Sept. 8, 2020
19                                            )
                                              )   NO ORAL ARGUMENT UNLESS
20                                            )   REQUESTED BY THE COURT
                                              )
21                                            )   Action Filed:     May 31, 2020
                                              )   Trial Date:       None Set
22                                            )
23
24
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28
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1                                                  I.
2                     INTRODUCTION AND SUMMARY OF ARGUMENT.
3           California, like the rest of this country (and much of the world), is in the middle of
4     a once-in-a-lifetime pandemic: the widespread transmission of a novel coronavirus,
5     SARS-CoV-2, and its resulting disease, COVID-19. Millions of individuals in this
6     country have tested positive for COVID-19, with more than 135,000 dead since February.
7     California, including the County of San Diego (“County”), continues to see high levels of
8     new infections, hospitalizations, and deaths each week. There is no known cure, and a
9     vaccine has not yet been developed. Nevertheless, a consensus among public health
10    officials has emerged: in addition to physical (or “social”) distancing, wearing facial
11    coverings in public spaces is a critical public health measure to slow the spread of
12    COVID-19. Accordingly, defendants have issued public health orders requiring that
13    facial coverings be worn in specified “high-risk” situations.
14          Plaintiff Ashton Forbes concedes that these face-covering requirements are at least
15    “minimally effective in stopping the spread of COVID-19,”1 but he nonetheless argues
16    that the science does not support defendants’ mandates. The Second Amended Complaint
17    (“SAC”), in essence, reflects Plaintiff’s policy disagreements with defendants’ public
18    health decisions. But the SAC frames those policy disagreements as constitutional
19    violations. Consequently, Plaintiff asks this Court to override the judgment of the public
20    health officials and to strike down a key COVID-19 mitigation measure. With respect,
21    this Court should decline to do so. And for the reasons set forth below, the SAC against
22    the County should be dismissed.
23                                                 II.
24     RELEVANT BACKGROUND – MATTERS SUBJECT TO JUDICIAL NOTICE.
25    A.    The COVID-19 Global Pandemic and Public Health Emergency.
26          “On December 31, 2019, China reported incidents of a pneumonia of unknown
27    cause to the World Health Organization. Since then, that infectious disease, which came
28          1
                Second Amended Complaint, ECF 7, at p. 2:12-14.
                                               1
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1     to be known as coronavirus disease 2019 (COVID-19), has swept the globe, infecting
2     millions.” [Gish v. Newsom, No. EDCV 20-755 JGB KKX, 2020 WL 1979970, at *2
3     (C.D. Cal. Apr. 23, 2020)2.] In the United States, over 3.4 million people have been
4     infected with COVID-19, causing more than 135,000 deaths. [RJN, ¶ 2, Exh. 2, Centers
5     for Disease Control and Prevention (“CDC”), COVID-19 web page, at
6     https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last visited
7     7/15/20).]
8           In California, more than 340,000 people have tested positive for COVID-19,
9     resulting in over 7,200 deaths (as of July 15, 2020).3 Recent trends remain troubling. Just
10    two days ago (July 14, 2020), the State reported 11,000 new COVID-19 cases and 140
11    more deaths. [RJN, ¶ 4, Exh. 3.] San Diego County has not been spared from the
12    pandemic. As of July 15, over 21,000 County residents have tested positive for COVID-
13    19, with 448 deaths. [RJN ¶ 5, Exh. 4.]
14           “There is currently no vaccine for the novel coronavirus, and it remains unlikely
15    that one will be developed in the coming months.” [Lighthouse Fellowship Church v.
16    Northam, No. 2:20CV204, 2020 WL 2110416, at *1 (E.D. Va. May 1, 2020).]
17    “The CDC has announced that the novel coronavirus (‘COVID-19’) is spread primarily
18    through in-person interactions, either ‘[b]etween people who are in close contact with one
19    another’ or ‘[t]hrough respiratory droplets produced when an infected person coughs,
20    sneezes or talks.’” [Lighthouse Fellowship Church, supra, 2020 WL 2110416, at *2.]4 “It
21    can be spread by people who are not showing symptoms and do not know they are
22    infected with the virus.” [Id.; RJN ¶ 6, Exh. 5.]
23    ///
24          2
               Citing World Health Organization, Coronavirus Disease 2019 Situation Report,
25    April 23, 2020 https://www.who.int/docs/default-source/coronaviruse/situation-
      reports/20200423-sitrep-94-covid-19.pdf?sfvrsn=b8304bf0_4, at Request for Judicial
26    Notice (“RJN), ¶ 1, Exh. 1.
             3
               California Department of Public Health’s COVID-19 web site, at
27    https://update.covid19.ca.gov (as of 7/15/20), at RJN, ¶ 3, Exh. 3.
             4
               Citing CDC, How COVID-19 Spreads (last updated June 16, 2020),
28    https://www.cdc.gov/corona-virus/2019-ncov/prevent-getting-sick/how-covid-
      spreads.html. [RJN ¶ 6, Exh. 5.]
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1     B.    Mitigation Measures and Recommendations: Face Coverings.
2           Over the last few months, as more has become known about COVID-19 and how it
3     spreads, public health experts have reached a consensus: the general public wearing face
4     coverings in high-risk situations is a critical public health measure to slow or stem the
5     transmission of the virus between people. The World Health Organization, the CDC, the
6     State’s and County’s public health departments, and many other government agencies
7     (including this Court5), now recommend or require that people wear face coverings
8     whenever they are indoors with other members of the public, or when they are outdoors
9     but in situations where it is not feasible to maintain physical distance from others.
10          1.     World Health Organization (“WHO”).
11          The WHO recommends the use of face coverings in public when physical
12    distancing with others cannot be maintained, as one component of a comprehensive set of
13    public-health recommendations or requirements to help stem the spread of COVID-19.
14    [RJN ¶ 8, Exh. 7, World Health Organization, Q&A Masks and COVID-19, June 7, 2020,
15    subheading Does WHO advise the use of non-medical, fabric masks in the general
16    public?, at https://www.who.int/emergencies/diseases/novel-coronavirus-2019/question-
17    and-answers-hub/q-a-detail/q-a-on-covid-19-and-masks (last visited 7/15/20).]
18    Additionally, the WHO now recommends that governments encourage the use of face
19    coverings in public if there is widespread community transmission, and especially in
20    settings where physical distancing cannot be maintained. [RJN ¶ 8, Exh. 7.]
21          2.     Centers for Disease Control and Prevention (“CDC”).
22          In the United States, “CDC guidance on the use of masks and face coverings has
23    changed over the course of the pandemic. [Starting in] early April 2020, the CDC
24    recommended the use of cloth face coverings (as distinct from surgical or N95 masks) in
25    ‘public settings’ where social distancing measures are ‘difficult to maintain.’” [Novoa v.
26    The GEO Group, Inc., Case No. EDCV 17-2514 JGB (SHKx), 2020 WL 3031620, at *4,
27          5
               See, RJN ¶ 7, Exh. 6, Order of the Chief Judge No. 29 (S.D. Cal. June 10, 2020),
28    at p. 4, ¶ 2, providing that: “Masks will be required for all participants, jurors, and
      spectators in the courtroom” during court proceedings.
                                                     3
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1     and n. 3 (C.D. Cal. Apr. 22, 2020) (citing CDC, Use of Cloth Face Coverings to Help
2     Slow the Spread of COVID-19, https://www.cdc.gov/coronavirus/2019-ncov/prevent-
3     getting-sick/diy-cloth-face-coverings.html).]
4           The CDC now strongly advises that the general public wear face coverings and
5     maintain social distancing (staying at least six feet away from people outside one’s own
6     household), based on the risk of COVID-19 transmission from asymptomatic and pre-
7     symptomatic individuals. For example, on the CDC’s COVID-19 web site, under the
8     heading “Consideration for Wearing Cloth Face Coverings – Help Slow the Spread of
9     COVID-19,” the CDC summarizes its current guidance as follows:
10
                  “CDC recommends that people wear cloth face coverings in public settings
11                 and when around people who don’t live in your household, especially when
12                 other social distancing measures are difficult to maintain.
                  Cloth face coverings may help prevent people who have COVID-19 from
13                 spreading the virus to others.
14                Cloth face coverings are most likely to reduce the spread of COVID-19
                   when they are widely used by people in public settings.”
15
16    [RJN, ¶ 9, Exh. 8, CDC, “Consideration for Wearing Cloth Face Coverings, Help Slow
17    the Spread of COVID-19” at https://www.cdc.gov/coronavirus/2019-ncov/prevent-
18    getting-sick/cloth-face-cover.html (updated 6/28/20, last visited 7/7/20).]
19          The CDC not only advises the general public to wear face coverings in order to
20    slow the spread of COVID-19, it backs up its guidance with a discussion of the “evidence
21    for [the] effectiveness of cloth face coverings.” Under the heading “Evidence for
22    Effectiveness of Cloth Face Coverings,” the CDC explains that:
23
            “Cloth face coverings are recommended as a simple barrier to help prevent
24          respiratory droplets from traveling into the air and onto other people when the
25          person wearing the cloth face covering coughs, sneezes, talks, or raises their voice.
            This is called source control. This recommendation is based on what we know
26          about the role respiratory droplets play in the spread of the virus that causes
27          COVID-19, paired with emerging evidence from clinical and laboratory studies
            that shows cloth face coverings reduce the spray of droplets when worn over the
28          nose and mouth. COVID-19 spreads mainly among people who are in close contact
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1           with one another (within about 6 feet), so the use of cloth face coverings is
            particularly important in settings where people are close to each other or where
2           social distancing is difficult to maintain.”
3
      [RJN, ¶ 9, Exh. 8, CDC, “Consideration for Wearing Cloth Face Coverings, Help Slow
4
      the Spread of COVID-19,” at subheading “Evidence for Effectiveness of Cloth Face
5
      Coverings,” at https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/cloth-
6
      face-cover.html (updated 6/28/20, last visited 7/15/20).] The CDC identifies 19 published
7
      studies as evidence they relied on to develop their guidance for the general public’s use
8
      of face coverings. [RJN, ¶ 9, Exh. 8, at subheading “Recent Studies” (updated 6/28/20,
9
      last visited 7/15/20).]
10
            With respect to the scope of the CDC’s face-covering guidance (i.e., who should
11
      wear them), the CDC’s recommendations are quite similar to the State of California’s
12
      current requirements (see below), which have been adopted by the County. [RJN, ¶ 9,
13
      Exh. 8, at subheading “Who Should Wear a Cloth Face Covering?” (updated 6/28/20, last
14
      visited 7/15/20).] Accordingly, the State’s and the County’s face-covering requirements
15
      (which are coextensive) are in line with the current scientific research and public-health
16
      guidance from both the WHO and the CDC.
17
            3.     State of California.
18
            In response to the COVID-19 pandemic, Governor Newsom issued Executive
19
      Order N-33-20 on March 19, 2020. [RJN, ¶ 10, Exh. 9.] The Governor’s order required
20
      “all residents” of the State of California “to immediately heed the current State public
21
      health directives,” including the State’s March 19, 2020 Public Health Order that was
22
      incorporated into Executive Order N-33-20. [Id.] Pursuant to their authority under State
23
      law6, including Executive Order N-33-20, on June 18, 2020 the “State Defendants” –
24
            6
25             The legal authority for the State Health Officer Order (contained in Governor
      Newsom’s Executive Order N-33-20) is: California Health and Safety Code sections
26    120125, 120140, 131080, 120130(c), 120135, 120145, 120175 and 120150. And the legal
      authority for the Governor’s Executive Order is Government Code sections 8567, 8627,
27    and 8665. Further, as Governor Newsom noted therein, his Executive Order is
      enforceable pursuant to Government Code section 8665, following the proclamation of a
28    state of emergency on March 4, 2020. [Executive Order N-33-20, RJN, ¶ 10, Exh. 9.]
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1      Governor Gavin Newsom, and State Public Health Officer Dr. Sonia Angell – issued a
2      public-health directive titled “Guidance for the Use of Face Coverings” (hereafter, “State
3      Guidance”). [6/18/20 State Guidance, attached as Exhibit 2 to the SAC, at ECF 7-2.]
4             The State Guidance both (a) communicated the important benefits of wearing face
5      coverings to reduce the transmission of COVID-19 between individuals (including those
6      with no symptoms), and (b) imposed a statewide mandate that face coverings be worn in
7      specified “high-risk” situations. [Id.] The State explained the reason for its policy change
8      (moving from merely recommending that face coverings be worn, to imposing a
9      statewide mandate) as follows:
10            Over the last four months, we have learned a lot about COVID-19 transmission,
11            most notably that people who are infected but are asymptomatic or pre-
              symptomatic play an important part in community spread. The use of face
12            coverings by everyone can limit the release of infected droplets when talking,
13            coughing, and/or sneezing, as well as reinforce physical distancing.
14     [State Guidance, ECF 7-2, at p. 2.]
15            The State Guidance requires non-exempt individuals in this State to “wear face
16     coverings when they are in the high-risk situations” described by the mandate. [ECF 7-2,
17     at pp. 2-4.] These “high-risk situations” include being in line to enter, or being inside of,
18     “any indoor public space,” obtaining healthcare services, public transportation, one’s
19     workplace if it’s possible to come into contact with others, and while “outdoors in public
20     spaces when maintain a physical distance of 6 feet from persons [outside one’s
21     household] is not feasible.” [ECF 7-2, at pp. 2-3.] Expressly exempted from the State
22     mandate are very young children, individuals “with a medical condition, mental health
23     condition, [or] a disability that prevents wearing a face covering,” people who are
24     actively eating or drinking at a restaurant (when allowed), and others as specified. [ECF
25     7-2, at pp. 3-4.]
26            4.     County of San Diego.
27            When Plaintiff initiated this action, the State had not yet issued a mandate that face
28     coverings be worn in public. But the County of San Diego had its own face-covering
                                                     6
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1      requirement. [See, e.g., County’s Public Health Order (effective 6/4/20), attached to the
2      SAC as Exhibit 1, at ECF 7-1, ¶ 9.] The order required all persons located within the
3      County (other than very young children) to have in their possession a face covering
4      whenever they left home, and to wear the face covering “whenever they are in a business
5      or within six feet of another person who is not a member of their family or household.”
6      [Id.] “Persons with a medical or mental health condition, or developmental disability that
7      prevents wearing a face covering” were exempt from the requirement. [Id.]
8            As soon as the State Defendants issued a statewide order that face coverings be
9      worn in public spaces (as specified), the County amended its Public Health Order to
10     expressly incorporate the State Guidance in place of the County’s earlier standalone
11     requirement. [See County Public Health Order, amended June 18, 2020 and effective
12     June 19, 2020, at ECF 7-3, ¶ 9.] Accordingly, the State and the County now have
13     identical face-covering mandates (including the exemptions). [Compare State Guidance,
14     at ECF 7-2, with current (as of this writing) County Public Health Order, effective July
15     15, 2020, at ¶ 9, at RJN, ¶ 11, Exh. 10.]
16           The general statutory authority for the County’s public health order is California
17     Health and Safety Code sections 101040 and 120175. Section 101040 provides that the
18     “local health officer” (such as County Public Health Officer Dr. Wilma Wooten) “may
19     take any preventive measure that may be necessary to protect and preserve the public
20     health from any public health hazard during a . . . ‘local emergency’ as defined by [Cal.
21     Gov. Code § 8558].” With respect to COVID-19, the County declared a local health
22     emergency on February 14, 2020. [RJN, ¶ 12, Exh. 11.] Section 120175 is similarly
23     broad, permitting public health officers to “take measures as may be necessary to prevent
24     the spread of the disease or occurrences of additional cases.”
25                                                 III.
26        RELEVANT ALLEGATIONS IN THE SECOND AMENDED COMPLAINT.
27           The SAC, filed on June 25, 2020, contains five causes of action challenging
28     defendants’ face-covering orders. [ECF 7, at ¶¶ 12-13, 40.] Plaintiff describes himself as
                                                    7
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1      “a healthy individual” who resides in the County. [ECF 7, at ¶¶ 5, 14.] He concedes that
2      defendants’ face-covering requirements are at least “minimally effective in stopping the
3      spread of COVID-19.” [ECF 7, at p. 2:12-14.] He nevertheless argues that “the
4      requirement to wear a face mask is overbroad and violates the fundamental rights of both
5      the United States Constitution as well as the California Constitution.” [ECF 7, at p. 2:15-
6      17.]
7             Plaintiff asserts that face-covering requirements are “based on the belief that many
8      SARS-CoV-2 transmissions may be from asymptomatic” individuals, and that “growing
9      data shows that asymptomatic transmission of COVID-19 is not as prevalent as originally
10     expected.” [ECF 7, at ¶ 16.] He claims that the WHO “no longer recommends masks for
11     any healthy individuals unless they are caring for positive COVID-19 patients.” [ECF 7,
12     at ¶ 18, and link to WHO website in fn. 5.] But if the reader clicks on the cited WHO
13     webpage, the quoted language is not found (as of July 15, 2020). In fact, as discussed
14     above (see, Section II(B)(1)), the WHO currently recommends the use of face coverings
15     in public to help stem the spread of COVID-19.
16            Plaintiff asserts that there is “a common misconception” that coronavirus (SARS-
17     CoV-2) “spreads by droplets,” and that there “is little evidence to support this is the main
18     method of transmission.” [ECF 7, at ¶ 19.] In particular, he contends that the coronavirus
19     is principally spread by “aerosol droplets” rather than “respiratory droplets.” [ECF 7, at
20     ¶¶ 19-20.] Plaintiff states that aerosol droplets are smaller than respiratory droplets, thus
21     making face coverings less effective at filtering aerosol droplets than the larger
22     respiratory droplets. [ECF 7, at ¶¶ 19-20.] But as support for this contention, Plaintiff
23     cites an online news story with an off-topic quote from a scientist in the United Kingdom
24     (speculating that 50% or less of the U.K. population may be susceptible to contracting
25     COVID-19), as well as reports on two studies conducted months ago, in foreign countries
26     (e.g., China), that do not appear to undercut – much less disprove – the efficacy of facial
27     coverings in slowing the transmission of COVID-19. [ECF 7, at ¶¶ 21-23, and fns. 6-7.]
28     ///
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1            Plaintiff quotes the County’s Public Health Officer, Dr. Wooten, as saying on
2      March 15, 2020, that the “thinking right now” is that if a person is “not actively
3      displaying symptoms,” he or she cannot transmit the virus to others. [ECF 7, at ¶ 23, and
4      fn. 8.] But the very next day (March 16), Dr. Wooten clarified that there is uncertainty in
5      the public health community regarding whether asymptomatic individuals can transmit
6      the virus, and that “studies are going on where asymptomatic people are being tested to
7      determine if that in fact is true, but we do not have the results of those research data at
8      this time.” [ECF 7, at ¶ 24.] Of course, by the time that the State and the County issued
9      the face-covering mandates being challenged in this case, the WHO and the CDC had
10     recognized the value of face coverings to slow the transmission of COVID-19, and had
11     issued recommendations or requirements that they be worn in public.7 [See, § II(B)(1)-
12     (2), above.]
13           The SAC contains Plaintiff’s hearsay statement that he “has been informed through
14     his employment there are currently no asymptomatic positives after hundreds of
15     surveillance tests.” [ECF 7, at ¶ 26.] Plaintiff does not disclose where he works or what
16     type of employment he has, what “surveillance tests” he is referring to, where or when
17     the “surveillance tests” took place, or who “informed him” of this information. [Id.]
18     Similarly, Plaintiff alleges that he “has also been informed that UCSD asymptomatic
19     surveillance testing has a 1/4000 positive rate.” [ECF 7, at ¶ 28.] But he does not allege
20     who “informed him” of this information, what “UCSD asymptomatic surveillance
21     testing” refers to, when, where, or on whom that “asymptomatic surveillance testing” was
22     conducted, or what he contends is the significance of that testing. [Id.]
23           Under the heading “Effectiveness of Masks in Preventing the Spread of COVID-
24     19,” Plaintiff acknowledges that the CDC recommends wearing face coverings, but
25
             7
26             Plaintiff also alleges that in February 2020, the U.S. Surgeon General and the
       CDC each “tweeted” that face coverings were not recommended for the general public in
27     response to coronavirus. [ECF 7, at ¶¶ 34-35.] Of course, much more is known about the
       virus and its transmission now than in February. As Plaintiff concedes, the CDC now
28     recommends that the general public wear face coverings to help slow the spread of
       COVID-19. [ECF 7, at ¶ 33 and fn. 13; see also, § II(B)(2), above.]
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1      asserts that the CDC does not “federally require” them. [ECF 7, at ¶ 33, and fn. 13
2      (italics added).] Tellingly, Plaintiff does not assert that the CDC, as opposed to State or
3      local governments exercising their general police powers, has the authority to impose a
4      face-covering requirement nationwide. Nor does he allege how the CDC recommending,
5      but not mandating, that face coverings be worn to combat the transmission of COVID-19,
6      supports his claim that defendants’ orders that do require face coverings to be worn are
7      unconstitutional.
8                                                   IV.
9           DISMISSAL UNDER RULE 12(b)(6) – FAILURE TO STATE A CLAIM.
10           Plaintiff’s SAC asserts the following causes of action against both defendants: (1)
11     violation of California’s police power; (2) violation of constitutional right to privacy; (3)
12     violation of constitutional right to move freely; (4) violation of constitutional right to
13     personal medical decisions; and (5) violation of the right to liberty under the California
14     Constitution. [ECF 7, at 1.] Plaintiff prays for declaratory and injunctive relief. [ECF 7,
15     at 17.] The Court should grant the County’s motion to dismiss the SAC under Rule
16     12(b)(6) for at least two reasons: (1) the challenged face-covering requirement, as a
17     temporary executive action taken in response to a public health emergency, is entitled to
18     substantial judicial deference, is not subject to traditional constitutional scrutiny, and
19     easily survives the limited judicial review permitted under Jacobson v. Commonwealth of
20     Massachusetts, 197 U.S. 11 (1905); and (2) Plaintiff’s causes of action, brought under 42
21     U.S.C. § 1983 (“Section 1983”) and state law, fail to state a claim upon which relief can
22     be granted. [FRCP 12(b)(6).]
23           A.     Legal Standard.
24           Under Rule 12(b)(6), a pleading must be dismissed if it fails to state a claim upon
25     which relief can be granted. A motion to dismiss under Rule 12(b)(6) tests the legal
26     sufficiency of the complaint. [Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001).] The
27     Court accepts all allegations of material fact as true and construes them in a light most
28     favorable to the nonmoving party. [Cedars–Sanai Med. Ctr. v. Nat'l League of
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1      Postmasters of U.S., 497 F.3d 972, 975 (9th Cir. 2007).] But the Court does not need to
2      accept any legal conclusions as true. [Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).]
3              Under Rule 12(b)(6), “a plaintiff’s obligation to provide the ‘grounds’ of his
4      ‘entitlement to relief’ requires more than labels and conclusions, and a formulaic
5      recitation of the elements of a cause of action will not do.” [Bell Atlantic Corp. v.
6      Twombly, 550 U.S. 554, 555 (2007) (internal citations omitted).] Instead, the allegations
7      in the complaint “must be enough to raise a right to relief above the speculative level.”
8      [Id.] Thus, “[t]o survive a motion to dismiss, a complaint must contain sufficient factual
9      matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” [Iqbal,
10     supra, 556 U.S. at 678 (citing Twombly, 550 U.S. at 570).] Also, the court is not obliged
11     to “accept as true allegations that contradict matters properly subject to judicial notice or
12     by exhibit.” [Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001)
13     (citation omitted), amended on other grounds, 275 F.3d 1187 (9th Cir. 2001).] Although
14     Rule 8 does not require detailed factual allegations, a plaintiff must allege “more than an
15     unadorned, the-defendant-unlawfully-harmed-me accusation.” [Iqbal, supra, 556 U.S. at
16     678.]
17             B.    Exercise of Executive Powers During State of Emergency.
18             When a State or local government enacts emergency measures to combat a serious
19     public health emergency, such temporary executive actions “are entitled to substantial
20     judicial deference and [are] not subject to traditional constitutional scrutiny.” [Gish,
21     supra, 2020 WL 1979970 at *4.] “Defendants have a right to protect California residents
22     from the spread of COVID-19—even if those protections temporarily burden
23     constitutional rights to a greater degree than normally permissible.” [Id.]
24             “The Supreme Court held over a century ago that ‘a community has the right to
25     protect itself against an epidemic of disease which threatens the safety of its members.’”
26     [Ibid., at *4, quoting Jacobson v. Commonwealth of Massachusetts, 197 U.S. 11, 27
27     (1905).] To do so, a State may “exercise . . . its general police powers to promote public
28     safety during a public health crisis.” [Cross Culture Christian Ctr. v. Newsom, No. 2:20-
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1      cv-00832-JAM-CKD, 2020 WL 2121111 (E.D. Cal. May 5, 2020), at *3, citing
2      Jacobson, supra, at 25.] And States’ police powers – which they may invest in “counties
3      and cities within their province” – “entails the authority ‘to enact quarantine laws and
4      health laws of every description.’” [Id.]
5            “Recognizing that the need to protect the public may trump individual rights
6      during a crisis, the Supreme Court has held that states and municipalities have greater
7      leeway to burden constitutionally protected rights during public emergencies:
8           In every well-ordered society charged with the duty of conserving the safety
            of its members the rights of the individual in respect of his liberty may at
9           times, under the pressure of great dangers, be subjected to such restraint, to
10          be enforced by reasonable regulations, as the safety of the general public
            may demand.
11
       [Gish, supra, 2020 WL 1979970 at *4-5, quoting Jacobson, 197 U.S. at 29.]
12
13           “When responding to the COVID-19 pandemic, therefore, Defendants ‘may
14     implement emergency measures that curtail constitutional rights so long as the measures
15     have at least some “real or substantial relation” to the public health crisis and are not
16     “beyond all question, a plain, palpable invasion of rights secured by the fundamental
17     law.”’” [Gish, at *5, quoting In re Abbott, 2020 WL 1685929, at *7 (5th Cir. Apr. 7,
18     2020) (quoting Jacobson, 197 U.S. at 31).] “In other words, during an emergency,
19     traditional constitutional scrutiny does not apply. Instead, any measures that limit or
20     suspend constitutional rights (1) must have a ‘real or substantial relation’ to the crisis and
21     (2) must not represent ‘plain, palpable’ invasions of clearly protected rights.” [Gish,
22     supra, at *5, quoting Jacobson, 197 U.S. at 31.] The challenged, temporary requirement
23     that Plaintiff wear a face covering when he is in certain high-risk public spaces, easily
24     meets the Jacobson test.
25           First, the challenged face-covering requirements (the State and County mandates
26     are co-extensive) have a “real or substantial relation” to the public health crisis (the
27     transmission of COVID-19 between persons). Plaintiff himself concedes that defendants’
28     face-covering requirements are at least “minimally effective in stopping the spread of
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1      COVID-19.” [ECF 7, at p. 2:12-14.] And the WHO and CDC both recommend that
2      governments encourage or require the general public to wear face coverings to slow the
3      transmission of COVID-19. [RJN ¶ 8, Exh. 7 (WHO); RJN, ¶ 9, Exh. 8 (CDC).]
4            Second, the temporary face-covering requirements do not “represent ‘plain,
5      palpable’ invasions of clearly protected rights.” [Gish, supra, at *5, quoting Jacobson,
6      197 U.S. at 31.] Courts have long recognized that states and local governments have
7      broad authority under their general police powers to protect the public from infectious
8      diseases. “For more than 100 years, the United States Supreme Court has upheld the right
9      of the States to enact and enforce laws requiring citizens to be vaccinated.” [Whitlow v.
10     Cal. Dep’t. of Education, 203 F.Supp.3d 1079, 1083 (S.D. Cal. 2016), citing Jacobson,
11     supra; Zucht v. King, 260 U.S. 174 (1922).]
12           These public health measures have been upheld even against religious liberty
13     challenges under the First Amendment. [Whitlow, supra (upholding mandatory
14     vaccination of school-age children, despite parents’ religious objections to the
15     vaccinations); see also, Prince v. Massachusetts, 321 U.S. 158, 166-67 (1944) (“The right
16     to practice religion freely does not include the liberty to expose the community or the
17     child to communicable disease or the latter to ill health or death”).] In fact, the United
18     States Supreme Court recently upheld the right of California and the County of San
19     Diego to limit indoor religious services in an effort to combat the spread of COVID-19.
20     [South Bay United Pentecostal Church v. Newsom, 140 S.Ct. 1613 (May 29, 2020).]
21           The challenged face-covering requirements are much less invasive than the
22     mandatory vaccinations upheld in Jacobson, Zucht, and Whitlow, and do not limit the
23     exercise of a constitutional right such as the restrictions on religious services upheld in
24     South Bay. A fortiori, defendants’ temporary face-covering mandates, which require
25     Plaintiff to don a small piece of cloth or other material over his nose and mouth only
26     when he is in certain high-risk public spaces, in an effort to slow the spread of a once-in-
27     a-lifetime pandemic, should be upheld as a valid exercise of the County’s (and the
28     State’s) police powers. [Gish, supra, at *5, quoting Jacobson, 197 U.S. at 31.]
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1            C.       Plaintiff’s Five Causes of Action Fail to State a Claim.
2            Plaintiff’s five causes of action fail to state a claim upon which relief can be
3      granted, and should thus be dismissed. [FRCP 12(b)(6).]
4                     1.    Violation of California’s Police Power.
5            Plaintiff claims in his first cause of action that defendants’ face-covering
6      requirements exceed the permissible bounds of their police powers. Plaintiff
7      acknowledges the source of the County’s authority to enact the public health order, under
8      California law. [ECF 7, at ¶ 44, citing Cal. Health & Safety Code §§ 101040, 120175,
9      and 120175.5.] Further, Plaintiff recognizes that the County’s police power is “broad and
10     powerful,” with “a large amount of discretion delegated to public health officials to
11     protect the public health.” [ECF 7, at ¶¶ 47-48.] Moreover, Plaintiff brings his first cause
12     of action under Section 1983, and thus it cannot be based on a claim that the County’s
13     order violates any state law. [See, Galen v. County of Los Angeles, 477 F.3d 652, 662 (9th
14     Cir. 2007).]
15           Instead, Plaintiff contends that the County’s face-covering mandate violates the
16     Fourteenth Amendment’s substantive due process protections. [ECF 7, at ¶ 43.] He bases
17     this claim on his disagreement regarding the efficacy of, or need for, a face-covering
18     requirement to slow the transmission of COVID-19. [ECF 7, at ¶¶ 50-51.] Specifically,
19     Plaintiff alleges that “based on the factual analysis [summarized in the SAC], the existing
20     conditions do not warrant a facial covering to prevent the spread of COVID-19.” [ECF 7,
21     at ¶ 50; see also, ECF 7, at ¶ 51 (alleging that “the science does not support the argument
22     that facial coverings are effective in preventing the spread of this contagious disease.”).]
23           But at most, the allegations in Plaintiff’s SAC (if assumed true) show that some
24     scientists doubt whether facial coverings are effective in slowing the spread of COVID-
25     19. Such allegations are woefully insufficient to support Plaintiff’s claim. The Court’s
26     review of the challenged health order is “highly deferential” to the public health officials.
27     [Flynn v. Holder, 684 F.3d 852, 858 (9th Cir. 2012).] A “governmental action need only
28     have a rational basis to be upheld against a substantive due process attack.” [Kim v.
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1      United States, 121 F.3d 1269, 1273 (9th Cir. 1997).] “If a statute is not arbitrary, but
2      implements a rational means of achieving a legitimate governmental end, it satisfies due
3      process.” [United States v. Alexander, 48 F.3d 1477, 1491 (9th Cir. 1995).] To establish a
4      violation of substantive due process, “a plaintiff is ordinarily required to prove that a
5      challenged government action was ‘clearly arbitrary and unreasonable, having no
6      substantial relation to the public health, safety, morals, or general welfare.’” [Patel v.
7      Penman, 103 F.3d 868, 874 (9th Cir. 1996), quoting Euclid v. Ambler Realty Co., 272
8      U.S. 365, 395 (1926).] In the Ninth Circuit, courts “determine[ ] whether governmental
9      action is so arbitrary that a rational basis for the action cannot even be conceived post
10     hoc.” [Witt v. Dep’t of Air Force, 527 F.3d 806, 817 (9th Cir. 2008).]
11           Certainly a rational basis can be conceived for the County’s face-covering
12     requirement. The Country is in the middle of a pandemic, for which there is no cure or
13     vaccine. In California alone, more than 340,000 people have tested positive for COVID-
14     19, resulting in over 7,200 deaths (as of July 15, 2020). 8 And recent trends remain
15     troubling. Just yesterday (July 14, 2020), the State reported 11,000 new COVID-19 cases
16     and 140 more deaths. [RJN, ¶ 4, Exh. 3.] In San Diego County, over 21,000 residents
17     have tested positive for COVID-19, with 448 deaths (as of July 15, 2020). [RJN ¶ 5, Exh.
18     4] Both the WHO and the CDC have published recommendations that the general public
19     use face coverings to slow the transmission of COVID-19 between members of the
20     public, including asymptomatic individuals. [RJN ¶ 8, Exh. 7 (WHO); RJN, ¶ 9, Exh. 8
21     (CDC).] Thus, there is clearly a conceivable rational basis for the County’s face-covering
22     mandate. Plaintiff’s first cause of action should be dismissed.
23                  2.     Violation of Constitutional Right to Privacy.
24           Plaintiff’s second cause of action claims that defendants’ face-covering
25     requirements violate Plaintiff’s constitutional right to privacy. He alleges that the
26     challenged mandate “is sweeping and unnecessarily broad as it is not based on science or
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             8
28              California Department of Public Health’s COVID-19 web site, at
       https://update.covid19.ca.gov (as of 7/15/20), at RJN, ¶ 3, Exh. 3.
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1      data which shows that facial coverings are not effective in stopping the spread of
2      COVID-19.” [ECF 7, at ¶ 59.] Plaintiff does not allege how wearing a face covering in
3      certain high-risk public spaces harms his privacy (masks often provide more privacy). In
4      any event, Plaintiff’s contention that “facial coverings are not effective in stopping the
5      spread of COVID-19” is not supported by the allegations in Plaintiff’s own complaint,
6      which at most show that a few scientists have doubts about the efficacy of such public
7      health measures. Further, Plaintiff himself concedes that the challenged face-covering
8      requirements are at least “minimally effective in stopping the spread of COVID-19.”
9      [ECF 7, at p. 2:12-14.] And the Court can take judicial notice that the WHO and CDC
10     each recommend that such face-covering requirements be used to slow the transmission
11     of COVID-19. [RJN ¶ 8, Exh. 7 (WHO); RJN, ¶ 9, Exh. 8 (CDC).]
12           Plaintiff’s second cause of action is pleaded in wholly conclusory terms, and at
13     bottom appears identical to his substantive due process challenge in the first cause of
14     action. A plaintiff must allege “more than an unadorned, the-defendant-unlawfully-
15     harmed-me accusation.” [Iqbal, supra, 556 U.S. at 678.] Plaintiff has not done so here;
16     there are no factual allegations that would support a claim that the County has violated
17     Plaintiff’s constitutional right to privacy. The cause of action should be dismissed.
18                  3.     Violation of Constitutional Right to Move Freely.
19           Plaintiff’s third cause of action alleges a violation of his constitutional “right to
20     ‘travel’ or move freely.” [ECF 7, at ¶ 64.] Specifically, Plaintiff claims that:
21           The requirement of Plaintiff to wear a facial covering in public when not in his
22           residence restricts his right to travel within the County by forcing him to make a
             decision between wearing a facial covering which provides no medical benefit and
23           in fact creates other collateral health risks, or remain a prisoner in his own home.
24           Either choice violates essential constitutional rights of the Plaintiff.
25     [ECF 7, at ¶ 67.]
26           First, the County’s Public Health Order does not require “Plaintiff to wear a facial
27     covering in public when not in his residence.” The Order (and the State Guidance that it
28     incorporates) requires Plaintiff to possess a face covering when he leaves home, and then
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1      to wear it when he is in certain specified “high-risk” situations, such as inside a business,
2      on public transportation, or when he is outdoors in public but cannot maintain at least six
3      feet of distance from persons who are not members of his household. [State Guidance, at
4      ECF 7-2; County’s Public Health Order, effective 7/15/20, at ¶ 9, at RJN, ¶ 11, Exh. 10.]
5            Second, the requirement that he wear a face covering when he is in certain high-
6      risk public situations does not violate his right to travel. The Fourteenth Amendment’s
7      right to travel, or move freely, “protects [1] the right of a citizen of one State to enter and
8      to leave another State, [2] the right to be treated as a welcome visitor rather than an
9      unfriendly alien when temporarily present in the second State, and, [3] for those travelers
10     who elect to become permanent residents, the right to be treated like other citizens of that
11     State.” [Saenz v. Roe, 526 U.S. 489, 500 (1999).] “Discrimination on the basis of out-of-
12     state residency is a necessary element for a claim under the Privileges and Immunities
13     Clause.” [Giannini v. Real, 911 F.2d 354, 357 (9th Cir. 1990).]
14           “[A]s Saenz demonstrates, the right to travel found in the Fourteenth
15     Amendment is concerned with preventing discrimination against out-of-state visitors and
16     new residents of a state.” [Stilwell v. Clark Cty., 2016 U.S. Dist. LEXIS 97421, at *31-33
17     (D. Nev. July 26, 2016).] Neither the Supreme Court nor the Ninth Circuit have
18     recognized a constitutional right to intrastate travel. [Best Supplement Guide, LLC v.
19     Newsom, 2020 WL 2615022, at *4–5 (E.D. Cal. May 22, 2020), citing Nunez ex rel.
20     Nunez v. City of San Diego, 114 F.3d 946, 949 n.7 (9th Cir. 1994).] And even when
21     interstate travel is involved, courts have found that minor burdens on such travel are not
22     constitutionally problematic. [See, e.g., Miller v. Reed, 176 F.3d 1202, 1205 (9th Cir.
23     1999) (recognizing that “minor burdens impacting interstate travel, such as toll roads, do
24     not constitute a violation of the right to travel”).]
25           Plaintiff’s third cause of action states no facts which, if accepted as true, would rise
26     to the level of violating his constitutional right to travel under Saenz v. Roe. The County’s
27     face-covering requirement does not prevent Plaintiff from traveling outside the County or
28     the State. It only imposes a temporary requirement that when Plaintiff is in certain high-
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1      risk public spaces within the County, that he wear a face covering to help stem the spread
2      of COVID-19. Plaintiff’s third cause of action should be dismissed.
3                   4.     Violation of Constitutional Right to Personal Medical Decisions.
4            Plaintiff’s fourth cause of action alleges that defendants’ face-covering
5      requirements violate his constitutional right to make personal medical decisions.
6      Specifically, Plaintiff alleges that the mandates violate his right, recognized by the
7      Supreme Court in Cruzan, “to decline unwanted medical treatment” if he so chooses.
8      [ECF 7, at ¶ 75, citing Cruzan v. Dir., Mo. Dept. of Health, 497 U.S. 261, 277 (1990)
9      (holding that “a competent person has a constitutionally protected liberty interest in
10     refusing unwanted medical treatment.”).] Plaintiff’s claim fails, because nothing in the
11     County’s face-covering order forces Plaintiff to receive unwanted medical treatment. The
12     requirement that Plaintiff wear a face covering while in certain high-risk public spaces in
13     no way prevents Plaintiff from seeking or receiving wanted medical care, or requires
14     Plaintiff to undergo medical treatment that he would rather not receive. Plaintiff’s fourth
15     cause of action should be dismissed.
16                  5.     Violation of Cal. Const., Art. I, § 1 Right to Liberty.
17           Plaintiff’s fifth cause of action alleges that defendants’ face-covering requirements
18     have deprived Plaintiff of “his liberty to freely move about in public, as well as an
19     invasion of the privacy of his person by requiring him to wear a facial covering that does
20     not accomplish the state’s goal of stopping the spread of COVID-19.” [ECF 7, at ¶ 82.]
21     Plaintiff contends that the challenged mandates violate his right to liberty under Article I,
22     Section 1 of the California Constitution. [ECF 7, at ¶ 81.]
23            “Constitutional guarantees of life, liberty, and property [under the State
24     Constitution] do not vest absolute in the individual; they are necessarily circumscribed by
25     the requirements of public health and safety.” [Concerned Dog Owners of Cal. v. City of
26     L.A., 194 Cal. App. 4th 1219, 1238, 123 Cal. Rptr. 3d 774, 789 (2011) (internal citations
27     omitted).] When a state or local government exercises its police powers to enact
28     regulations for public health or safety, a plaintiff challenging the regulation as violating
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1      his right to liberty under the California Constitution must show that the lawmakers acted
2      irrationally in enacting the regulation. [Nat'l Org. for Reform of Marijuana Laws v. Gain,
3      100 Cal. App. 3d 586, 598, 161 Cal. Rptr. 181, 187 (1979) (upholding state law ban on
4      the use and possession of marijuana against “right to liberty” challenge, as the appellants
5      had “not shown irrational conduct by [the] lawmakers,” who had the “basic power” to
6      “enact reasonable police regulations”).]
7            The challenged face-covering requirement is not irrational, but a reasonable
8      exercise of the County’s police powers to protect public health and safety in the middle
9      of a pandemic. The WHO and the CDC each recommend that the general public wear
10     face coverings to slow the transmission of COVID-19. [RJN ¶ 8, Exh. 7 (WHO); RJN, ¶
11     9, Exh. 8 (CDC).] Plaintiff has not alleged facts sufficient to state a claim under the
12     California Constitution, and his fifth cause of action should therefore be dismissed. [See,
13     Best Supplement Guide, LLC, supra, 2020 WL 2615022, at *6–7 (rejecting plaintiff gym
14     owner’s “right to liberty” challenge to the State’s COVID-19 stay-at-home order, brought
15     under the California Constitution).]
16                                                 IV.
17                                            CONCLUSION.
18           For the foregoing reasons, Defendant County of San Diego respectfully requests
19     that this Court dismiss Plaintiff’s Second Amended Complaint, and each cause of action
20     therein, with prejudice.
21
22     DATED: July 16, 2020             THOMAS E. MONTGOMERY, County Counsel
23
24                                      By     s/Timothy M. White
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